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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

UNITED STATES OF AMERICA,                     )
          Plaintiff,                          )
                                              )       Case No. 4:19-cv-00415
v.                                            )
                                              )
ALEXANDRU BITTNER,                            )
         Defendant.                           )

                      UNITED STATES OF AMERICA’S COMPLAINT

         The United States of America, pursuant to 31 U.S.C. § 3711(g)(4)(C), at the direction of

the Attorney General of the United States, or his delegate, and at the request of the Secretary of

the Treasury, or his delegate, files this Complaint against Alexandru Bittner to reduce to

judgment and collect outstanding civil penalties assessed against Alexandru Bittner for his non-

willful failure to timely report his financial interest in foreign bank accounts as required by 31

U.S.C. § 5314 and its implementing regulations, plus accrued interest on the assessed penalties,

late payment penalties and associated fees. In support hereof, the United States alleges as

follows:

                                 JURISDICTION AND VENUE

         1.     The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1345 and

1355 because this action arises under a federal statute for the recovery of a penalty and the

United States is the Plaintiff. Further, upon completion of service of process, this Court will

have personal jurisdiction over Alexandru Bittner pursuant to Fed. R. Civ. P. 4(k).

         2.     Venue is proper in this district under 28 U.S.C. § 1391(b) because Alexandru

Bittner is a United States citizen whose last known address was in Plano, Texas. Alternatively,

venue may be proper under 28 U.S.C. §§ 1391(c) and 1395.


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     ALEXANDRU BITTNER’S FAILURE TO TIMELY REPORT HIS FINANCIAL
              INTEREST IN HIS FOREIGN BANK ACCOUNTS

        3.     31 U.S.C. § 5314 authorizes the Secretary of the Treasury to require United States

persons to report certain transactions with foreign financial agencies. United States persons who

have a financial interest in, or signature authority over, a bank, securities, or other financial

account in a foreign country that exceeds $10,000 in aggregate value must file a Form TD F 90-

22.1, “Report of Foreign Bank and Financial Accounts,” commonly known as an “FBAR,” with

the IRS reporting the account for each year in which such relationship exists. 31 U.S.C.

§ 53143; 31 C.F.R. § 1010.350(a); § 1010.306(c). For the 2007 through 2011 years at issue, an

FBAR was due by June 30 “of each calendar year with respect to foreign financial accounts

exceeding $10,000 maintained during the previous calendar year.” 31 C.F.R. § 1010.306(c).1

        4.     Mr. Bittner is originally from Romania. He moved to the United States in 1982

and became a naturalized U.S. citizen in 1987. In 1990, Mr. Bittner and his family moved to

Romania, where he became a successful businessman owning and investing in numerous

businesses. Mr. Bittner and his family resided in Romania until 2011 when they returned to the

United States. However, at all times from the 2007 through 2011 years at issue, Mr. Bittner was

a U.S. citizen. Thus, Mr. Bittner was a United States person as defined in 31 C.F.R. § 1010.350

for the years 2007 through 2011.




1
 Beginning with the 2016 tax year, the due date of the FBAR form is April 15. Pub. L. No. 114-
41, § 2006(b)(11).


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              5.      Prior to May 21, 2012, Mr. Bittner had never filed an FBAR despite having

       signature authority or control over in excess of 50 accounts from 2007 through 2011 as follows:

                                 Year          Total Number of Mr. Bittner’s
                                                     Foreign Accounts
                                 2007                       61

                                 2008                          51

                                 2009                          53

                                 2010                          53

                                 2011                          55


              6.       Mr. Bittner also failed to disclose on his 2007 through 2011 federal income tax

       returns that he had foreign bank accounts. Bittner included a Schedule B as part of his income

       tax return for every year from 2007 through 2011. Yet, Bittner answered “no” to the question on

       Schedule B regarding whether he had a financial interest in, or signature authority over, a

       financial account located in a foreign country.

              7.      On May 21, 2012, Mr. Bittner filed delinquent FBARs for 2007, 2008 and 2010.

       However, Mr. Bittner’s late-filed FBARs only reported a single foreign bank account for 2007,

       2008, and 2010 as follows:

Year       Name on             Name of Bank              Account Number             Bank          Reported max
           Account                                                                 Location      value in account
2007   Alexandru Bittner   UniCredit Tiriac Bank    XXXX XXXX XXXX                 Romania       $470,278
                                                    XXXX XXXX 0320
2008   Alexandru Bittner   UniCredit Tiriac Bank    XXXX XXXX XXXX                 Romania       $500,000
                                                    XXXX XXXX 0320
2010   Alexandru Bittner   UniCredit Tiriac Bank    XXXX XXXX XXXX                 Romania       $659,350
                                                    XXXX XXXX 0320

              8.      On May 21, 2012, Mr. Bittner filed a late FBAR reporting two foreign bank

       accounts for 2009 as follows:

                                                         3
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Year       Name on             Name of Bank             Account Number              Bank          Reported max
           Account                                                                 Location      value in account
2009   Alexandru Bittner      Banca Agricola         XXXXXX7200                    Romania       $1,140,000
2009   Alexandru Bittner   UniCredit Tiriac Bank     XXXX XXXX XXXX                Romania       $333,333
                                                     XXXX XXXX 0320

              9.       On May 21, 2012, Mr. Bittner timely filed an FBAR for 2011, reporting a single

       foreign bank account at Piraeus Bank in Romania with a maximum account balance of $996,000.

       The IRS did not assess an FBAR penalty on the Piraeus account.

              10.     For the years 2007 through 2011, Mr. Bittner also had a personal bank account

       (Account Number XXXX XXXX XXXX XXXX XXXX 0310) with UniCredit Tiriac Bank in

       Romania, which exceeded $10,000 for each year as follows:

                                   Year              Maximum Account Balance

                                    2007                        $495,373

                                    2008                        $227,365

                                    2009                        $362,508

                                   2010                         $665,021

                                    2011                       $1,013,382


              11.     From 2007 through 2011, Mr. Bittner’s foreign bank accounts contained more

       than $10,000 in aggregate. Consequently, Mr. Bittner was required to timely file FBARs

       reporting every bank, securities, or other financial account in a foreign country in which he had a

       financial interest, or over which he had signature authority.




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Alexandru Bittner had had a financial interest in, or signature authority over, numerous
foreign bank accounts for years 2007 through 2011.

       12.     In 2007, Mr. Bittner had signature authority or control over, or an interest in, the

following foreign bank accounts:

 Name on Account        Name of Bank           Account Number                      Bank Location
 Alexandru Bittner      Unicredit Tiriac Bank  XXXX XXXX XXXX                      Romania
                                               XXXX XXXX 0310
 Alexandru Bittner      Unicredit Tiriac Bank  XXXX XXXX XXXX                      Romania
                                               XXXX XXXX 0020
 Alexandru Bittner      Unicredit Tiriac Bank  XXXX XXXX XXXX                      Romania
                        (HVB Bank)             XXXX XXXX 0320
 Alexandru Bittner      Raiffeisen Bank S.A    XXXX XXXX XXXX                      Romania
                                               XXXX XXXX 7875
 Bittner Alexandru      Credit Europe Bank (ex XXXXXXX—                            Romania
                        Finansbank)            XXXXXXXXX1170
 Alexandru Bittner      Liechtensteinische     XXXX XXXX XXXX                      Liechtenstein
                        Landesbank             XXXX X536 0
                        Aktiengesellschaft
 Alexandru Bittner      Royal Bank of Canada XXXX XXXX XXXX                        Switzerland
                        (Suisse) SA            XXXX X070 0
 Hotel Venetia Co       Banca Comerciala       XXXX XXXX XXXX                      Romania
 SA                     Romana                 XXXX XXXX 0001
 Hotel Venetia Co       Banca Comerciala       XXXX XXXX XXXX                      Romania
 SA                     Romana                 XXXX XXXX 0001
 Hotel Venetia Co       Banca Comerciala       XXXX XXXX XXXX                      Romania
 SA                     Romana                 XXXX XXXX 0001
 Hotel Venetia Co       Alpha Bank Romania     XXXX XXXX XXXX                      Romania
 SA                                            XXXX XXXX EU01
 Hotel Venetia Co       Alpha Bank Romania     XXXX XXXX XXXX                      Romania
 SA                                            XXXX XXXX RO01
 Hotel Venetia Co       Alpha Bank Romania     XXXX XXXX XXXX                      Romania
 SA                                            XXXX XXXX US01
 Afrodita Estival       Banca Comerciala       XXXX XXXX XXXX                      Romania
 SRL                    Romana                 XXXX XXXX 0001
 Afrodita Estival       Raiffeisen Bank        XXXX XXXX XXXX                      Romania
 SRL                                           XXXX XXXX 4978
 Comprest SA            Unicredit Tiriac Bank  XXXX XXXX XXXX                      Romania
                                               XXXX XXXX 1000
 Comprest SA            RBS Romania Bank       XXXX XXXX XXXX                      Romania
                                               XXXX XXXX 2746
 Comprest SA            Banca Transilvania     XXXX XXXX XXXX                      Romania
                                               XXXX XXXX 47XX
 NBN Com SRL            Raiffeisen Bank        XXXX XXXX XXXX                      Romania
                                                 5
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Name on Account       Name of Bank                Account Number   Bank Location
                                                  XXXX XXXX 0465
Agrement Serv SRL Banca Comerciala                XXXX XXXX XXXX   Romania
                  Romana                          XXXX XXXX 0001
Agrement Serv SRL Unicredit Tiriac Bank           XXXX XXXX XXXX   Romania
                                                  XXXX XXXX 8310
Terra Invest SRL      OTP Bank (ex                XXXX XXXX XXXX   Romania
                      RoBank)                     XXXX XXXX RO01
Anfrance Impex        BRD Groupe Societe          XXXX XXXX XXXX   Romania
SRL                   Generale                    XXXX XXXX 4450
Piscicola Tour SRL    Unicredit Tiriac Bank       XXXX XXXX XXXX   Romania
                                                  XXXX XXXX 0310
Piscicola Tour SRL    BRD Group Societe           XXXX XXXX XXXX   Romania
                      General                     XXXX XXXX 3700
Piscicola Tour SRL    BRD Group Societe           XXXXXXXXX0 EUR   Romania
                      General
Piscicola Tour SRL    Raiffeisen Bank             XXXX XXXX XXXX   Romania
                                                  XXXX XXXX 5107
Piscicola Tour SRL    Banca Comerciala            XXXX XXXX XXXX   Romania
                      Romana                      XXXX XXXX 0001
Ecofish SRL           Unicredit Tiriac Bank       XXXX XXXX XXXX   Romania
                      (ex HVB Bank)               XXXX XXXX 7310
Ecofish SRL           Exim Bank                   XXXX XXXX XXXX   Romania
                                                  XXXX XXXX RO02
Ecofish SRL           BRD Group Societe           XXXX XXXX XXXX   Romania
                      Generale                    XXXX XXXX 3700
Ecofish SRL           BRD Group Societe           XXXX XXXX XXXX   Romania
                      Generale                    XXXX XXXX 3700
Ecofish SRL           Banca Comerciala            XXXX XXXX XXXX   Romania
                      Romana                      XXXX XXXX 0001
Ecofish SRL           Banca Comerciala            XXXX XXXX XXXX   Romania
                      Romana                      XXXX XXXX 0003
Danubiu RO 2002       Unicredit Tiriac Bank       XXXX XXXX XXXX   Romania
SRL                   (ex HVB Bank)               XXXX XXXX 9310
Danubiu RO 2002       Exim Bank                   XXXX XXXX XXXX   Romania
SRL                                               XXXX XXXX RO02
Danubiu RO 2002       BRD Group Societe           XXXX XXXX XXXX   Romania
SRL                   Generale                    XXXX XXXX 3700
Danubiu RO 2002       BRD Group Societe           XXXX XXXX XXXX   Romania
SRL                   Generale                    XXXX XXXX 3700
Danubiu RO 2002       Banca Comerciala            XXXX XXXX XXXX   Romania
SRL                   Romana                      XXXX XXXX 0003
Piscicola Murighiol   Banca Comerciala            XXXX XXXX XXXX   Romania
SRL                   Romana                      XXXX XXXX 0001
Piscicola Jurilovca   Raiffeisen Bank             XXXX XXXX XXXX   Romania

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Name on Account       Name of Bank                 Account Number    Bank Location
SA                                                 XXXX XXXX 5335
Aquarom Elite SRL     Raiffeisen Bank              XXXX XXXX XXXX    Romania
                                                   XXXX XXXX 3741
Rondo Invest SRL      RBS Romania Bank             XXXX XXXX XXXX    Romania
                                                   XXXX XXXX 7892
Top Invest            Credit Europe Bank (ex       XXXX XXXX XXXX    Romania
                      Finansbank)                  XXXX XXXX RO01
Starmob               Credit Europe Bank (ex       XXXX XXXX XXXX    Romania
International SRL     Finansbank)                  XXXX XXXX RO01
Midas Construct       Credit Europe Bank (ex       XXXX XXXX XXXX    Romania
SRL                   Finansbank)                  XXXX XXXX RO02
Intelgralnet SRL      OTP Bank (ex                 XXXX XXXX XXXX    Romania
                      RoBank)                      XXXX XXXX RO01
Metamob Intl SRL      OTP Bank (ex                 XXXX XXXX XXXX    Romania
                      RoBank)                      XXXX XXXX RO01
LCA Service SRL       Credit Europe Bank (ex       XXXX XXXX XXXX    Romania
                      Finansbank)                  XXXX XXXX RO02
Midas Constructii     Credit Europe Bank (ex       XXXX XXXX XXXX    Romania
2000 SRL              Finansbank)                  XXXX XXXX RO03
Midas Constructii     Raiffeisen Bank              XXXXXX1800        Romania
2000 SRL
Midas Constructii     Banca Comerciala             XXXX.X-XXX.1ROL   Romania
2000 SRL              Romana
Stibro 2000 SRL       Credit Europe Bank (ex XXXX XXXX XXXX          Romania
                      Finansbank)            XXXX XXXX RO01
Stibro 2000 SRL       Credit Europe Bank (ex XXXX XXXX XXXX          Romania
                      Finansbank)            XXXX XXXX EUR1
Stibro 2000 SRL       Raiffeisen Bank        XXXX XXXX XXXX          Romania
                                             XXXX XXXX 1279
Hotel Venetia SRL     Credit Europe Bank (ex XXXX XXXX XXXX          Romania
                      Finansbank)            XXXX XXXX RO02
Intertrade            Banca Comerciala       XXXX XXXX XXXX          Romania
Distributie Produse   Romana                 XXXX XXXX 0001
Alimentare SRL
Intertrade            Banca Comerciala             XXXX XXXX XXXX    Romania
Distributie Produse   Romana                       XXXX XXXX 0002
Alimentare SRL
Intertrade            BRD Group Societe            XXXX XXXX XXXX    Romania
Distributie Produse   Generale                     XXXX XXXX 4450
Alimentare SRL
Intertrade            BRD Group Societe            XXXX XXXX XXXX    Romania
Distributie Produse   Generale                     XXXX XXXX 4450
Alimentare SRL
Intertrade            Trezorerie                   XXXX XXXX XXXX    Romania

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 Name on Account          Name of Bank                 Account Number                  Bank Location
 Distributie Produse                                   XXXX XXXX 7728
 Alimentare SRL
 Gama Mac Grup            Unicredit Tiriac Bank        XXXX XXXX XXXX                  Romania
 SRL                      (ex HVB Bank)                XXXX XXXX 7000

       13.     In 2007, Mr. Bittner had signature authority or control over, or an interest in, all

of the foreign accounts listed in paragraph 12. The aggregate balance in all of Mr. Bittner’s

foreign accounts exceeded $10,000 in 2007. Thus, on or before June 30, 2008, Mr. Bittner was

required to file FBARs reporting his interest in each of these foreign bank accounts for 2007

listed in paragraph 12.

       14.     Mr. Bittner failed to timely file FBARs for 2007 reporting his signature authority

or control over, or interest in, all of the foreign accounts listed in paragraph 12.

       15.     In 2008, Mr. Bittner had signature authority or control over, or an interest in, the

following foreign bank accounts:

 Name on Account          Name of Bank           Account Number                        Bank Location
 Alexandru Bittner        Unicredit Tiriac Bank  XXXX XXXX XXXX                        Romania
                                                 XXXX XXXX 0310
 Alexandru Bittner        Unicredit Tiriac Bank  XXXX XXXX XXXX                        Romania
                                                 XXXX XXXX 0020
 Alexandru Bittner        Unicredit Tiriac Bank  XXXX XXXX XXXX                        Romania
                          (HVB Bank)             XXXX XXXX 0320
 Alexandru Bittner        Raiffeisen Bank S.A    XXXX XXXX XXXX                        Romania
                                                 XXXX XXXX 7875
 Bittner Alexandru        Credit Europe Bank (ex XXXXXXX—                              Romania
                          Finansbank)            XXXXXXXXX1170
 Alexandru Bittner        Liechtensteinische     XXXX XXXX XXXX                        Liechtenstein
                          Landesbank             XXXX X536 0
                          Aktiengesellschaft
 Alexandru Bittner        Royal Bank of Canada XXXX XXXX XXXX                          Switzerland
                          (Suisse) SA            XXXX X070 0
 Hotel Venetia Co         Banca Comerciala       XXXX XXXX XXXX                        Romania
 SA                       Romana                 XXXX XXXX 0001
 Hotel Venetia Co         Banca Comerciala       XXXX XXXX XXXX                        Romania
 SA                       Romana                 XXXX XXXX 0001
 Hotel Venetia Co         Banca Comerciala       XXXX XXXX XXXX                        Romania
 SA                       Romana                 XXXX XXXX 0001
                                                   8
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Name on Account       Name of Bank                Account Number   Bank Location
Hotel Venetia Co      Alpha Bank Romania          XXXX XXXX XXXX   Romania
SA                                                XXXX XXXX EU01
Hotel Venetia Co      Alpha Bank Romania          XXXX XXXX XXXX   Romania
SA                                                XXXX XXXX RO01
Hotel Venetia Co      Alpha Bank Romania          XXXX XXXX XXXX   Romania
SA                                                XXXX XXXX US01
Afrodita Estival      Banca Comerciala            XXXX XXXX XXXX   Romania
SRL                   Romana                      XXXX XXXX 0001
Afrodita Estival      Raiffeisen Bank             XXXX XXXX XXXX   Romania
SRL                                               XXXX XXXX 4978
Comprest SA           Unicredit Tiriac Bank       XXXX XXXX XXXX   Romania
                                                  XXXX XXXX 1000
Comprest SA           RBS Romania Bank            XXXX XXXX XXXX   Romania
                                                  XXXX XXXX 2746
Comprest SA           Banca Transilvania          XXXX XXXX XXXX   Romania
                                                  XXXX XXXX 47XX
NBN Com SRL           Raiffeisen Bank             XXXX XXXX XXXX   Romania
                                                  XXXX XXXX 0465
Agrement Serv SRL Unicredit Tiriac Bank           XXXX XXXX XXXX   Romania
                                                  XXXX XXXX 8310
Anfrance Impex        BRD Groupe Societe          XXXX XXXX XXXX   Romania
SRL                   Generale                    XXXX XXXX 4450
Piscicola Tour SRL    Unicredit Tiriac Bank       XXXX XXXX XXXX   Romania
                                                  XXXX XXXX 0310
Piscicola Tour SRL    BRD Group Societe           XXXX XXXX XXXX   Romania
                      General                     XXXX XXXX 3700
Piscicola Tour SRL    BRD Group Societe           XXXXXXXXX0 EUR   Romania
                      General
Ecofish SRL           Unicredit Tiriac Bank       XXXX XXXX XXXX   Romania
                      (ex HVB Bank)               XXXX XXXX 7310
Ecofish SRL           BRD Group Societe           XXXX XXXX XXXX   Romania
                      Generale                    XXXX XXXX 3700
Ecofish SRL           Banca Comerciala            XXXX XXXX XXXX   Romania
                      Romana                      XXXX XXXX 0001
Ecofish SRL           Banca Comerciala            XXXX XXXX XXXX   Romania
                      Romana                      XXXX XXXX 0003
Danubiu RO 2002       Unicredit Tiriac Bank       XXXX XXXX XXXX   Romania
SRL                   (ex HVB Bank)               XXXX XXXX 9310
Danubiu RO 2002       BRD Group Societe           XXXX XXXX XXXX   Romania
SRL                   Generale                    XXXX XXXX 3700
Danubiu RO 2002       Banca Comerciala            XXXX XXXX XXXX   Romania
SRL                   Romana                      XXXX XXXX 0003
Piscicola Murighiol   Banca Comerciala            XXXX XXXX XXXX   Romania
SRL                   Romana                      XXXX XXXX 0001

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Name on Account       Name of Bank                 Account Number   Bank Location
Piscicola Jurilovca   Raiffeisen Bank              XXXX XXXX XXXX   Romania
SA                                                 XXXX XXXX 5335
Avidprod SRL          BRD Group Societe            XXXX XXXX XXXX   Romania
                      Generale                     XXXX XXXX 3700
Aquarom Elite SRL     Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 3741
Rondo Invest SRL      RBS Romania Bank             XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 7892
Top Invest            Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO01
Starmob               Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
International SRL     Finansbank)                  XXXX XXXX RO01
Midas Construct       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
SRL                   Finansbank)                  XXXX XXXX RO02
Intelgralnet SRL      OTP Bank (ex                 XXXX XXXX XXXX   Romania
                      RoBank)                      XXXX XXXX RO01
Metamob Intl SRL      OTP Bank (ex                 XXXX XXXX XXXX   Romania
                      RoBank)                      XXXX XXXX RO01
LCA Service SRL       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO02
Midas Constructii     Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
2000 SRL              Finansbank)                  XXXX XXXX RO03
Midas Constructii     Raiffeisen Bank              XXXXXX1800       Romania
2000 SRL
Stibro 2000 SRL       Credit Europe Bank (ex XXXX XXXX XXXX         Romania
                      Finansbank)            XXXX XXXX RO01
Stibro 2000 SRL       Credit Europe Bank (ex XXXX XXXX XXXX         Romania
                      Finansbank)            XXXX XXXX EUR1
Stibro 2000 SRL       Raiffeisen Bank        XXXX XXXX XXXX         Romania
                                             XXXX XXXX 1279
Hotel Venetia SRL     Credit Europe Bank (ex XXXX XXXX XXXX         Romania
                      Finansbank)            XXXX XXXX RO02
Intertrade            BRD Group Societe      XXXX XXXX XXXX         Romania
Distributie Produse   Generale               XXXX XXXX 4450
Alimentare SRL
Intertrade            BRD Group Societe            XXXX XXXX XXXX   Romania
Distributie Produse   Generale                     XXXX XXXX 4450
Alimentare SRL
Intertrade            Trezorerie                   XXXX XXXX XXXX   Romania
Distributie Produse                                XXXX XXXX 7728
Alimentare SRL
Gama Mac Grup         Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
SRL                   (ex HVB Bank)                XXXX XXXX 7000



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       16.     In 2008, Mr. Bittner had signature authority or control over, or an interest in, all

of the foreign accounts listed in paragraph 15. The aggregate balance in all of Mr. Bittner’s

foreign accounts exceeded $10,000 in 2008. Thus, on or before June 30, 2009, Mr. Bittner was

required to file FBARs reporting his interest in each of these foreign bank accounts listed in

paragraph 15 for 2008.

       17.     Mr. Bittner failed to timely file FBARs reporting his signature authority or control

over, or interest in, all of the foreign accounts listed in paragraph 15 for 2008.

       18.     In 2009, Mr. Bittner had signature authority or control over, or an interest in, the

following foreign bank accounts:

 Name on Account         Name of Bank           Account Number                       Bank Location
 Alexandru Bittner       Unicredit Tiriac Bank  XXXX XXXX XXXX                       Romania
                                                XXXX XXXX 0310
 Alexandru Bittner       Unicredit Tiriac Bank  XXXX XXXX XXXX                       Romania
                                                XXXX XXXX 0020
 Alexandru Bittner       Unicredit Tiriac Bank  XXXX XXXX XXXX                       Romania
                         (HVB Bank)             XXXX XXXX 0320
 Alexandru Bittner       Raiffeisen Bank S.A    XXXX XXXX XXXX                       Romania
                                                XXXX XXXX 7875
 Bittner Alexandru       Credit Europe Bank (ex XXXXXXX—                             Romania
                         Finansbank)            XXXXXXXXX1170
 Alexandru Bittner       Liechtensteinische     XXXX XXXX XXXX                       Liechtenstein
                         Landesbank             XXXX X536 0
                         Aktiengesellschaft
 Alexandru Bittner       Royal Bank of Canada XXXX XXXX XXXX                         Switzerland
                         (Suisse) SA            XXXX X070 0
 Hotel Venetia Co        Banca Comerciala       XXXX XXXX XXXX                       Romania
 SA                      Romana                 XXXX XXXX 0001
 Hotel Venetia Co        Banca Comerciala       XXXX XXXX XXXX                       Romania
 SA                      Romana                 XXXX XXXX 0001
 Hotel Venetia Co        Banca Comerciala       XXXX XXXX XXXX                       Romania
 SA                      Romana                 XXXX XXXX 0001
 Hotel Venetia Co        Alpha Bank Romania     XXXX XXXX XXXX                       Romania
 SA                                             XXXX XXXX EU01
 Hotel Venetia Co        Alpha Bank Romania     XXXX XXXX XXXX                       Romania
 SA                                             XXXX XXXX RO01
 Hotel Venetia Co        Alpha Bank Romania     XXXX XXXX XXXX                       Romania
 SA                                             XXXX XXXX US01

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Name on Account       Name of Bank                 Account Number   Bank Location
Afrodita Estival      Banca Comerciala             XXXX XXXX XXXX   Romania
SRL                   Romana                       XXXX XXXX 0001
Afrodita Estival      Raiffeisen Bank              XXXX XXXX XXXX   Romania
SRL                                                XXXX XXXX 4978
Comprest SA           Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1000
Comprest SA           RBS Romania Bank             XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 2746
Comprest SA           Banca Transilvania           XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 47XX
NBN Com SRL           Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 0465
Agrement Serv SRL Unicredit Tiriac Bank            XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 8310
Anfrance Impex        BRD Groupe Societe           XXXX XXXX XXXX   Romania
SRL                   Generale                     XXXX XXXX 4450
Piscicola Tour SRL    Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 0310
Piscicola Tour SRL    BRD Group Societe            XXXX XXXX XXXX   Romania
                      General                      XXXX XXXX 3700
Piscicola Tour SRL    BRD Group Societe            XXXXXXXXX0 EUR   Romania
                      General
Ecofish SRL           Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                      (ex HVB Bank)                XXXX XXXX 7310
Ecofish SRL           BRD Group Societe            XXXX XXXX XXXX   Romania
                      Generale                     XXXX XXXX 3700
Ecofish SRL           Banca Comerciala             XXXX XXXX XXXX   Romania
                      Romana                       XXXX XXXX 0001
Danubiu RO 2002       Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
SRL                   (ex HVB Bank)                XXXX XXXX 9310
Danubiu RO 2002       BRD Group Societe            XXXX XXXX XXXX   Romania
SRL                   Generale                     XXXX XXXX 3700
Piscicola Murighiol   BRD Group Societe            XXXX XXXX XXXX   Romania
SRL                   General                      XXXX XXXX 3700
Piscicola Murighiol   Banca Comerciala             XXXX XXXX XXXX   Romania
SRL                   Romana                       XXXX XXXX 0001
Piscicola Jurilovca   Raiffeisen Bank              XXXX XXXX XXXX   Romania
SA                                                 XXXX XXXX 5335
Avidprod SRL          BRD Group Societe            XXXX XXXX XXXX   Romania
                      Generale                     XXXX XXXX 3700
Avidprod SRL          Trezorerie                   XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 0374
Aquarom Elite SRL     Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 3741

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Name on Account       Name of Bank                 Account Number   Bank Location
Rondo Invest SRL      RBS Romania Bank             XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 7892
Top Invest            Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO01
Starmob               Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
International SRL     Finansbank)                  XXXX XXXX RO01
Supermob Intl SRL     Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO01
Midas Construct       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
SRL                   Finansbank)                  XXXX XXXX RO02
Intelgralnet SRL      OTP Bank (ex                 XXXX XXXX XXXX   Romania
                      RoBank)                      XXXX XXXX RO01
Metamob Intl SRL      OTP Bank (ex                 XXXX XXXX XXXX   Romania
                      RoBank)                      XXXX XXXX RO01
LCA Service SRL       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO02
Midas Constructii     Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
2000 SRL              Finansbank)                  XXXX XXXX RO03
Stibro 2000 SRL       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO01
Stibro 2000 SRL       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX EUR1
Stibro 2000 SRL       Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1279
Hotel Venetia SRL     Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO02
Intertrade            BRD Group Societe            XXXX XXXX XXXX   Romania
Distributie Produse   Generale                     XXXX XXXX 4450
Alimentare SRL
Intertrade            BRD Group Societe            XXXX XXXX XXXX   Romania
Distributie Produse   Generale                     XXXX XXXX 4450
Alimentare SRL
Intertrade            Trezorerie                   XXXX XXXX XXXX   Romania
Distributie Produse                                XXXX XXXX 7728
Alimentare SRL
Intertrade            Trezorerie                   XXXX XXXX XXXX   Romania
Distributie Produse                                XXXX XXXX 3225
Alimentare SRL
Intertrade            Banca Italo Romena           XXXX XXXX XXXX   Romania
Distributie Produse                                XXXX XXXX CC01
Alimentare SRL
Intertrade            Banca Italo Romena           XXXX XXXX XXXX   Romania
Distributie Produse                                XXXX XXXX CC01
Alimentare SRL
Gama Mac Grup         Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                              13
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 Name on Account          Name of Bank                 Account Number                Bank Location
 SRL                      (ex HVB Bank)                XXXX XXXX 7000

       19.     In 2009, Mr. Bittner had signature authority or control over, or an interest in, all

of the foreign accounts listed in paragraph 18. The aggregate balance in all of Mr. Bittner’s

foreign accounts exceeded $10,000 in 2009. Thus, on or before June 30, 2010, Mr. Bittner was

required to file FBARs reporting his interest in each of these foreign bank accounts for 2009

listed in paragraph 18.

       20.     Mr. Bittner failed to timely file a 2009 FBARs reporting his signature authority

or control over, or interest in, all of the foreign accounts listed in paragraph 18 for 2009.

       21.     In 2010, Mr. Bittner had signature authority or control over, or an interest in, the

following foreign bank accounts:

 Name on Account          Name of Bank           Account Number                      Bank Location
 Alexandru Bittner        Unicredit Tiriac Bank  XXXX XXXX XXXX                      Romania
                                                 XXXX XXXX 0310
 Alexandru Bittner        Unicredit Tiriac Bank  XXXX XXXX XXXX                      Romania
                                                 XXXX XXXX 0020
 Alexandru Bittner        Unicredit Tiriac Bank  XXXX XXXX XXXX                      Romania
                          (HVB Bank)             XXXX XXXX 0320
 Alexandru Bittner        Raiffeisen Bank S.A    XXXX XXXX XXXX                      Romania
                                                 XXXX XXXX 7875
 Bittner Alexandru        Credit Europe Bank (ex XXXXXXX—                            Romania
                          Finansbank             XXXXXXXXX1170
 Alexandru Bittner        Liechtensteinische     XXXX XXXX XXXX                      Liechtenstein
                          Landesbank             XXXX X536 0
                          Aktiengesellschaft
 Alexandru Bittner        Royal Bank of Canada XXXX XXXX XXXX                        Switzerland
                          (Suisse) SA            XXXX X070 0
 Hotel Venetia Co         Banca Comerciala       XXXX XXXX XXXX                      Romania
 SA                       Romana                 XXXX XXXX 0001
 Hotel Venetia Co         Banca Comerciala       XXXX XXXX XXXX                      Romania
 SA                       Romana                 XXXX XXXX 0001
 Hotel Venetia Co         Banca Comerciala       XXXX XXXX XXXX                      Romania
 SA                       Romana                 XXXX XXXX 0001
 Hotel Venetia Co         Alpha Bank Romania     XXXX XXXX XXXX                      Romania
 SA                                              XXXX XXXX EU01
 Hotel Venetia Co         Alpha Bank Romania     XXXX XXXX XXXX                      Romania
                                                  14
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Name on Account       Name of Bank                 Account Number   Bank Location
SA                                                 XXXX XXXX RO01
Hotel Venetia Co      Alpha Bank Romania           XXXX XXXX XXXX   Romania
SA                                                 XXXX XXXX US01
Afrodita Estival      Banca Comerciala             XXXX XXXX XXXX   Romania
SRL                   Romana                       XXXX XXXX 0001
Afrodita Estival      Raiffeisen Bank              XXXX XXXX XXXX   Romania
SRL                                                XXXX XXXX 4978
Comprest SA           Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1000
Comprest SA           RBS Romania Bank             XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 2746
Comprest SA           Piraeus Bank                 XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1000
Comprest SA           Banca Transilvania           XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 47XX
Comprest SA           Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1606
NBN Com SRL           Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 0465
Anfrance Impex        BRD Groupe Societe           XXXX XXXX XXXX   Romania
SRL                   Generale                     XXXX XXXX 4450
Piscicola Tour SRL    Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 0310
Piscicola Tour SRL    BRD Group Societe            XXXX XXXX XXXX   Romania
                      General                      XXXX XXXX 3700
Piscicola Tour SRL    BRD Group Societe            XXXXXXXXX0 EUR   Romania
                      General
Piscicola Murighiol   BRD Group Societe            XXXX XXXX XXXX   Romania
SRL                   General                      XXXX XXXX 3700
Piscicola Jurilovca   Raiffeisen Bank              XXXX XXXX XXXX   Romania
SA                                                 XXXX XXXX 5335
Avidprod SRL          BRD Group Societe            XXXX XXXX XXXX   Romania
                      Generale                     XXXX XXXX 3700
Aquarom Elite SRL     Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 3741
Aquarom Elite SRL     Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 7308
Aquarom Elite SRL     Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 5227
Rondo Invest SRL      Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 6000
Rondo Invest SRL      Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 6001
Rondo Invest SRL      RBS Romania Bank             XXXX XXXX XXXX   Romania

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Name on Account       Name of Bank              Account Number   Bank Location
                                                XXXX XXXX 7892
Rondo Invest SRL      Pireaus Bank              XXXX XXXX XXXX   Romania
                                                XXXX XXXX 1000
Top Invest            Credit Europe Bank (ex    XXXX XXXX XXXX   Romania
                      Finansbank)               XXXX XXXX RO01
Starmob               Credit Europe Bank (ex    XXXX XXXX XXXX   Romania
International SRL     Finansbank)               XXXX XXXX RO01
Supermob Intl SRL     Credit Europe Bank (ex    XXXX XXXX XXXX   Romania
                      Finansbank)               XXXX XXXX RO01
Midas Construct       Credit Europe Bank (ex    XXXX XXXX XXXX   Romania
SRL                   Finansbank)               XXXX XXXX RO02
Intelgralnet SRL      OTP Bank (ex              XXXX XXXX XXXX   Romania
                      RoBank)                   XXXX XXXX RO01
Metamob Intl SRL      OTP Bank (ex              XXXX XXXX XXXX   Romania
                      RoBank)                   XXXX XXXX RO01
LCA Service SRL       Credit Europe Bank (ex    XXXX XXXX XXXX   Romania
                      Finansbank)               XXXX XXXX RO02
Midas Constructii     Credit Europe Bank (ex    XXXX XXXX XXXX   Romania
2000 SRL              Finansbank)               XXXX XXXX RO03
Stibro 2000 SRL       Credit Europe Bank (ex    XXXX XXXX XXXX   Romania
                      Finansbank)               XXXX XXXX RO01
Stibro 2000 SRL       Credit Europe Bank (ex    XXXX XXXX XXXX   Romania
                      Finansbank)               XXXX XXXX EUR1
Stibro 2000 SRL       Raiffeisen Bank           XXXX XXXX XXXX   Romania
                                                XXXX XXXX 1279
Hotel Venetia SRL     Credit Europe Bank (ex    XXXX XXXX XXXX   Romania
                      Finansbank)               XXXX XXXX RO02
Intertrade            BRD Group Societe         XXXX XXXX XXXX   Romania
Distributie Produse   Generale                  XXXX XXXX 4450
Alimentare SRL
Intertrade            BRD Group Societe         XXXX XXXX XXXX   Romania
Distributie Produse   Generale                  XXXX XXXX 4450
Alimentare SRL
Intertrade            Trezorerie                XXXX XXXX XXXX   Romania
Distributie Produse                             XXXX XXXX 3225
Alimentare SRL
Intertrade            Banca Italo Romena        XXXX XXXX XXXX   Romania
Distributie Produse                             XXXX XXXX CC01
Alimentare SRL
Intertrade            Banca Italo Romena        XXXX XXXX XXXX   Romania
Distributie Produse                             XXXX XXXX CK01
Alimentare SRL
Intertrade            Banca Italo Romena        XXXX XXXX XXXX   Romania
Distributie Produse                             XXXX XXXX CC01
Alimentare SRL
                                           16
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 Name on Account          Name of Bank                 Account Number                Bank Location
 Gama Mac Grup            Unicredit Tiriac Bank        XXXX XXXX XXXX                Romania
 SRL                      (ex HVB Bank)                XXXX XXXX 7000

       22.     In 2010, Mr. Bittner had signature authority or control over, or an interest in, all

of the foreign accounts listed in paragraph 21. The aggregate balance in all of Mr. Bittner’s

foreign accounts exceeded $10,000 in 2010. Thus, on or before June 30, 2011, Mr. Bittner was

required to file FBARs reporting his interest in each of these foreign bank accounts for 2010

listed in paragraph 21.

       23.     Mr. Bittner failed to timely file FBARs reporting his signature authority or control

over, or interest in, all of the foreign accounts listed in paragraph 21 for 2010.

       24.     In 2011, Mr. Bittner had signature authority, control or an interest in the following

foreign bank accounts:

 Name on Account          Name of Bank                 Account Number                Bank Location
 Alexandru Bittner        Unicredit Tiriac Bank        XXXX XXXX XXXX                Romania
                                                       XXXX XXXX 0310
 Alexandru Bittner        Unicredit Tiriac Bank        XXXX XXXX XXXX                Romania
                                                       XXXX XXXX 0020
 Alexandru Bittner        Unicredit Tiriac Bank        XXXX XXXX XXXX                Romania
                          (HVB Bank)                   XXXX XXXX 0320
 A. Bittner               Pireaus                      XXXX XXXX XXXX                Romania
                                                       XXXX XXXX 0000
 A. Bittner               Pireaus                      XXXX XXXX XXXX                Romania
                                                       XXXX XXXX 2000
 Alexandru Bittner        Raiffeisen Bank S.A          XXXX XXXX XXXX                Romania
                                                       XXXX XXXX 7875
 Alexandru Bittner        Liechtensteinische           XXXX XXXX XXXX                Liechtenstein
                          Landesbank                   XXXX X536 0
                          Aktiengesellschaft
 Alexandru Bittner        Royal Bank of Canada         XXXX XXXX XXXX                Switzerland
                          (Suisse) SA                  XXXX X070 0
 Hotel Venetia Co         Banca Comerciala             XXXX XXXX XXXX                Romania
 SA                       Romana                       XXXX XXXX 0001
 Hotel Venetia Co         Banca Comerciala             XXXX XXXX XXXX                Romania
 SA                       Romana                       XXXX XXXX 0001
 Hotel Venetia Co         Banca Comerciala             XXXX XXXX XXXX                Romania
 SA                       Romana                       XXXX XXXX 0001
                                                  17
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Name on Account       Name of Bank                 Account Number   Bank Location
Hotel Venetia Co      Alpha Bank Romania           XXXX XXXX XXXX   Romania
SA                                                 XXXX XXXX EU01
Hotel Venetia Co      Alpha Bank Romania           XXXX XXXX XXXX   Romania
SA                                                 XXXX XXXX RO01
Hotel Venetia Co      Alpha Bank Romania           XXXX XXXX XXXX   Romania
SA                                                 XXXX XXXX US01
Afrodita Estival      Bana Comerciala              XXXX XXXX XXXX   Romania
SRL                   Romana                       XXXX XXXX 0001
Afrodita Estival      Raiffeisen Bank              XXXX XXXX XXXX   Romania
SRL                                                XXXX XXXX 4978
Comprest SA           Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1000
Comprest SA           RBS Romania Bank             XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 2746
Comprest SA           Piraeus Bank                 XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1000
Comprest SA           Banca Transilvania           XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 47XX
Comprest SA           Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1606
Comprest SA           Volksbank                    XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 2701
NBN Com SRL           Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 0465
Prodlemn Maneciu      BRD Group Societe            XXXX XXXX XXXX   Romania
SRL                   Generale                     XXXX XXXX 3000
Anfrance Impex        BRD Groupe Societe           XXXX XXXX XXXX   Romania
SRL                   Generale                     XXXX XXXX 4450
Piscicola Tour SRL    Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 0310
Piscicola Tour SRL    BRD Group Societe            XXXX XXXX XXXX   Romania
                      General                      XXXX XXXX 3700
Piscicola Tour SRL    BRD Group Societe            XXXXXXXXX0 EUR   Romania
                      General
Piscicola Murighiol   BRD Group Societe            XXXX XXXX XXXX   Romania
SRL                   General                      XXXX XXXX 3700
Piscicola Murighiol   Trezorerie                   XXXX XXXX XXXX   Romania
SRL                                                XXXX XXXX 4461
Piscicola Jurilovca   Raiffeisen Bank              XXXX XXXX XXXX   Romania
SA                                                 XXXX XXXX 5335
Avidprod SRL          BRD Group Societe            XXXX XXXX XXXX   Romania
                      Generale                     XXXX XXXX 3700
Aquarom Elite SRL     Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 3741

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Name on Account       Name of Bank                 Account Number   Bank Location
Aquarom Elite SRL     Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 7308
Aquarom Elite SRL     Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 5227
Rondo Invest SRL      Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 6000
Rondo Invest SRL      Unicredit Tiriac Bank        XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 6001
Rondo Invest SRL      Pireaus Bank                 XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1000
Top Invest            Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO01
Starmob               Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
International SRL     Finansbank)                  XXXX XXXX RO01
Supermob Intl SRL     Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO01
Midas Construct       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
SRL                   Finansbank)                  XXXX XXXX RO02
Intelgralnet SRL      OTP Bank (ex                 XXXX XXXX XXXX   Romania
                      RoBank)                      XXXX XXXX RO01
Metamob Intl SRL      OTP Bank (ex                 XXXX XXXX XXXX   Romania
                      RoBank)                      XXXX XXXX RO01
LCA Service SRL       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO02
Midas Constructii     Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
2000 SRL              Finansbank)                  XXXX XXXX RO03
Stibro 2000 SRL       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX RO01
Stibro 2000 SRL       Credit Europe Bank (ex       XXXX XXXX XXXX   Romania
                      Finansbank)                  XXXX XXXX EUR1
Stibro 2000 SRL       Raiffeisen Bank              XXXX XXXX XXXX   Romania
                                                   XXXX XXXX 1279
Intertrade            BRD Group Societe            XXXX XXXX XXXX   Romania
Distributie Produse   Generale                     XXXX XXXX 4450
Alimentare SRL
Intertrade            BRD Group Societe            XXXX XXXX XXXX   Romania
Distributie Produse   Generale                     XXXX XXXX 4450
Alimentare SRL
Intertrade            Banca Italo Romena           XXXX XXXX XXXX   Romania
Distributie Produse                                XXXX XXXX CC01
Alimentare SRL
Intertrade            Banca Italo Romena           XXXX XXXX XXXX   Romania
Distributie Produse                                XXXX XXXX CK01
Alimentare SRL

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 Name on Account          Name of Bank                 Account Number                 Bank Location
 Intertrade               Banca Italo Romena           XXXX XXXX XXXX                 Romania
 Distributie Produse                                   XXXX XXXX CC01
 Alimentare SRL
 Gama Mac Grup            Unicredit Tiriac Bank        XXXX XXXX XXXX                 Romania
 SRL                      (ex HVB Bank)                XXXX XXXX 7000

        25.     In 2011, Mr. Bittner had signature authority or control over, or an interest in, all

of the foreign accounts listed in paragraph 24. The aggregate balance in all of Mr. Bittner’s

foreign accounts exceeded $10,000 in 2011. Thus, on or before June 30, 2012, Mr. Bittner was

required to file FBARs reporting his interest in each of these foreign bank accounts for 2011

listed in paragraph 24.

        26.     Mr. Bittner failed to timely file FBARs reporting his signature authority or control

over, or interest in, all of the foreign accounts listed in paragraph 24 for 2011.

                                          COUNT 1
                                  Judgment for FBAR Penalties

        27.     For violations involving the non-willful failure to report the existence of a foreign

account, the maximum amount of the penalty that may be assessed is $10,000 per account. 31

U.S.C. § 5321(a)(5)(B)(i).

        28.     Mr. Bittner failed to timely file FBARs for 2007 through 2011 reporting all of the

foreign bank accounts listed in paragraphs 12, 15, 18, 21 and 24, respectively. Mr. Bittner’s

failure to timely report his financial interest in, or signature authority over, all of his foreign bank

accounts was non-willful.

        29.     Due to Mr. Bittner’s non-willful failure to timely file FBARs reporting his

financial interest in, or signature authority over, the foreign bank accounts listed in paragraphs

12, 15, 18, 21 and 24, a delegate of the Treasury Secretary assessed a $10,000 penalty per

account violation against him on June 8, 2017, pursuant to 31 U.S.C. § 5321(a)(5) as follows:


                                                  20
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              Tax Year      FBAR Account Violations        Aggregate Amount of Assessments
                2007                 61                                $610,000
                2008                 51                                $510,000
                2009                 53                                $530,000
                2010                 53                                $530,000
                2011                 54                                $540,000
                                                           Total:    $2,720,000

        30.    A delegate of the Treasury Secretary gave Mr. Bittner notice and demand of the

FBAR penalty assessments for the years 2007 through 2011. Despite the notice and demand for

payment, Mr. Bittner has failed to pay the FBAR penalties assessed against him. Therefore,

interest and other statutory additions continue to accrue on the unpaid assessments.

        31.    As of October 22, 2018, Mr. Bittner owed the United States $2,981,343.56 in

penalties assessed under 31 U.S.C. § 5321, including interest and other statutory additions that

have accrued, and will continue to accrue, as provided by law.

The FBAR penalty assessments against Alexandru Bittner for years 2007 through 2011 were
timely.

        32.    The IRS’ assessments of the FBAR penalties for the years 2007 through 2011

were timely. Pursuant to 31 U.S.C. § 5321(b)(1), the statute of limitations on the assessment of

an FBAR penalty is six years from the date of the violation. The date of the violations for statute

of limitations calculations is the date the Form TD F 90-22.1 is due, which is June 30 of the

subsequent calendar year. For example, the FBAR for the earliest year at issue – the 2007 year –

was due on June 30, 2008. Thus, the statute of limitations for assessment for 2007 was June 30,

2014.

        33.    However, Mr. Bittner signed several consents to extend the time to assess Civil

Penalties provided by 31 U.S.C. § 5321 for FBAR violations (FBAR penalties) for the 2007

through 2009 years, which extended the statute of limitation for assessment for FBAR penalties

to June 30, 2017. Accordingly, the IRS had to assess the FBAR penalties for the 2007 through

                                                21
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2009 years before June 30, 2017. The FBAR penalties for 2007 through 2009 were timely

assessed on June 8, 2017.

         34.    For 2010 and 2011, the FBARs were due on June 30, 2011, and June 30, 2012,

respectively. Consequently, the IRS had until June 30, 2017, and June 30, 2018, to assess the

FBAR penalties for the years 2010 and 2011, respectively. The FBAR penalties for 2010 and

2011 were timely assessed on June 8, 2017.

         35.    Likewise, this suit is timely because it was commenced within two years of the

assessment date. Pursuant to 31 U.S.C. § 5321(b)(2), a suit to reduce to judgment an FBAR

assessment must be commenced within two years from the date of assessment. Since the FBAR

penalties for the years 2007 through 2011 were assessed on June 8, 2017, the United States has

until June 8, 2019,2 to timely file this suit.

         WHEREFORE, the United States of America requests as follows:

         A.     That the Court enter judgment in favor of the United States against Alexandru

Bittner for his FBAR penalty assessments for the years 2007 through 2011 in the aggregate

amount of $2,981,343.56 as of October 22, 2018, plus accruals and such other and further relief

as the Court deems just and proper; and

         B.     That the Court order any other relief that is just and proper.




2
 June 8, 2019 falls on a Saturday. Therefore, the actual deadline to file this Complaint is June
10, 2019. FED. R. CIV. P. 6 (a)(1)(C).


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                                  Respectfully submitted,

                                  RICHARD E. ZUCKERMAN
                                  Principal Deputy Assistant Attorney General

                                  By:       /s/ Herbert W. Linder
                                        HOLLY M. CHURCH
                                        Attorney, Tax Division
                                        State Bar No. 24040691
                                        HERBERT W. LINDER
                                        Ohio Bar No. 0065446
                                        Department of Justice
                                        717 N. Harwood, Suite 400
                                        Dallas, Texas 75201
                                        (214) 880-2432/(214) 880-9754
                                        (214) 880-9742 (FAX)
                                        Holly.M.Church@USDOJ.gov
                                        Herbert.W.Linder@usdoj.gov

                                  ATTORNEYS FOR UNITED STATES




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